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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

___________________________________
                                    )
AMERICAN FOREIGN SERVICE            )
ASSOCIATION, et al.,                )
                                    )
                  Plaintiffs,       )        Civil Action No. 1:25-CV-352
                                    )
            v.                      )
                                    )
DONALD TRUMP, et al.,               )
                                    )
                  Defendants.       )
___________________________________ )


                       DECLARATION OF SARAH DOE

      I, Sarah Doe, declare the following under penalties of perjury:

      1.    I am over 18 years of age and competent to give this declaration. This

declaration is based on my personal knowledge, information, and belief.

      2.    I am a Deputy Director with the USAID Foreign Service (direct hire).

      3.    I am assigned to a Mission in Africa and I support economic development

of the country where I am based.

      4.    The USAID shutdown was unexpected and sudden. Development

programs my colleagues and I designed and had in procurement for months could not

be awarded. One of our programs which was being implemented was to provide solar

panels to a hospital neonatal intensive care unit (NICU) department. The

infrastructure contract was halted with the stop work order. This will lead to the

death of many innocent children.

      5.    I am in the third trimester of my pregnancy. My supervisor, Mission
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leadership, and the Embassy Health Unit has been aware of my pregnancy since the

first trimester. During the first trimester, I medevac to London for an advanced

ultrasound and blood work. Since the change of administration, the agency policies

for both USAID and the Department of State has changed and commitments are no

longer being honored. I had an approved telework memo that allowed me to work

from week 34 of the pregnancy up until I deliver. The memo was rescinded. I

submitted Human Resources help desk tickets inquiring about my foreign service to

civil service conversion request which I have reemployment rights issued from

USAID in 2017, telework approval memo, paid parental leave and whether my

foreign service assignment could be extended. I was told that they did not have

answers to my questions at this time as they are busy trying to understand the

Executive Orders. I was later told that they would not extend my foreign service

assignment unless it was for programmatic reasons not personal reasons (pregnancy).

I was told about a week ago that when I medevac from my post that my assignment

would be cut short. This was unexpected and felt like a punishment as I am pregnant

and need to depart the country to be in a place with adequate medical care. On

multiple occasions, I communicated that ending my assignment early will cause

undue financial hardship and could lead to me not having health insurance for the

delivery of my child. In response to this statement, I was told by the Mission HR

(Executive Officer) and Mission leadership that, “We have to do what is in the best

interest of the Agency.” When I inquired about a reasonableaccommodation request,

I was told that a Department of State cable which applies to Foreign Service staff,



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states the reasonable accommodation request would have to be approved by the

Under Secretary for Management. They felt the request would be denied.

      6.     I do not understand how not allowing me to telework and not allowing

me to use my personal leave is in the best interest of the US government. Per the

Pregnant Workers Fairness Act (PWFA), I am supposed to be able to telework when

I am pregnant.

      7.     In my past experience being pregnant in 2022, I also had a medevac due

to pregnancy. I did not use PCS (permanent change of station) travel for my medevac.

The PCS travel was used months later for my spouse to oversee packout and finalize

arrangements in the country. It does not make any sense why PCS travel is being

pushed now. It is my understanding PCS travel / travel orders cuts the per diem

allowed and essentially ends the assignment. In my prior post, I medevac at week 28

of my pregnancy and it was the Health Unit or State Med that authorized that.

      8.     I am concerned that I will not be able to get the 12 weeks paid parental

leave, paycheck or possibly health insurance. After 13 years with the government,

this is cruel and heartless for a loyal federal employee. I also have a high-risk

pregnancy with high blood pressure, and I am being forced to stay in the country

longer than I would like due to the risk associated with departing post.

      9.     I am very concerned about my high blood pressure leading to having to

deliver my child earlier than estimated due to all the stress and uncertainty. My post

does not have adequate healthcare and many pregnant women die during childbirth.

This country also has maybe two flights a week that travel to the west which is scary



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as it will not be easy departing here. This situation has caused me a lot of emotional

distress and staff have made me feel like I am a burden to the Mission. It is quite

frustrating.

      10.      My spouse is not a Foreign Service Officer but has a position within the

embassy. When I am told that I will have to depart post that means my husband’s

position will have to end many months earlier than previously communicated. This

adds additional financial stress on our family.

      I declare under penalty of perjury that the foregoing is true and correct.

      Executed on February 10, 2025.



                                                /s/ Sarah Doe
                                               Sarah Doe




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